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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

------------------------------x
                              :
DOCTOR’S ASSOCIATES, INC.     :         Civ. No. 3:16CV00562 (JCH)
                              :
v.                            :
                              :
MANOJ TRIPATHI &              :
SADHANA TRIPATHI              :         November 3, 2016
                              :
------------------------------x

RECOMENDED RULING RE: PLAINTIFF’S PETITION TO COMPEL ARBITRATION
      [DOC. #1], DEFENDANTS’ MOTION TO DISMISS [DOC. #16],
             AND PLANTIFF’S MOTION FOR PRELIMINARY
             AND/OR PERMANENT INJUNCTION [DOC. #33]

                           I.   INTRODUCTION

    Plaintiff Doctor’s Associates, Inc. (“DAI” or “plaintiff”)

has filed a Petition to Compel Arbitration (hereinafter

sometimes referred to as the “Petition”) [Doc. #1] against

defendants Manoj Tripathi and Sadhana Tripathi (collectively the

“defendants” or the “Tripathis”) in connection with a complaint

filed by the Tripathis in California state court. Also before

the Court is DAI’s Motion for Preliminary and/or Permanent

Injunction [Doc. #33], which seeks to enjoin the Tripathis from

litigating the California state court action. In addition to

opposing DAI’s Petition to Compel Arbitration on, inter alia,

unconscionability grounds [Doc. #17], the Tripathis have also

filed a Motion to Dismiss, Abstain, and/or Transfer Action to

California (“Motion to Dismiss”) [Doc. #16]. The Tripathis argue


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that DAI improperly failed to name two indispensable parties to

the Petition to Compel Arbitration, and that necessary inclusion

of those parties destroys this Court’s diversity jurisdiction.

See Doc. #16-1. The Tripathis also argue, in the alternative,

that this Court should abstain from exercising its jurisdiction

because of the parallel state court action, or should transfer

this matter to the Northern District of California under the

first-filed action rule. See id.1

     For the reasons articulated below, the Court finds that the

defendants entered into a franchise agreement containing a

classically broad arbitration clause, which clearly and

unmistakably delegates issues of arbitrability to the

arbitrator, and thus gateway issues such as unconscionability of

the arbitration agreement are for the arbitrator’s determination

in the first instance. Therefore, the Court recommends that the

defendants’ Motion to Dismiss [Doc. #16] be DENIED, DAI’s

Petition to Compel Arbitration [Doc. #1] be GRANTED, and that

DAI’s Motion for Preliminary and/or Permanent Injunction [Doc.

#33] be GRANTED.




1 Briefing in this matter has been extensive and the Court has
considered all oppositions, replies, and sur-replies filed in
connection with the three pending motions.
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                       II.   FACTUAL BACKGROUND

    Plaintiff DAI is the national franchisor of Subway sandwich

shops and is a Florida corporation, with its headquarters

located in Milford, Connecticut. See Doc. #1 at ¶2; see also

Doc. #26-1, August 1, 2016, Declaration of Ralph Piselli

(“Piselli Dec.”) at ¶¶4-5. Defendants are California residents.

See Doc. #1 at ¶3; see also Doc. #16-2, May 17, 2016,

Declaration of Manoj Tripathi Supporting 1) Motion to Dismiss,

Abstain and/or Transfer Action to California and 2) Opposition

to Motion to Compel Arbitration (“Tripathi Dec.”) at ¶2. Between

November 15, 2001, and February 6, 2011, defendants and DAI

entered into eleven written franchise agreements, which

permitted defendants to operate Subway restaurants in

California. See Doc. #1 at ¶6; see also Doc. ##1-1, 1-2, 1-3, 1-

4, 1-5, 1-6, 1-7, 1-8, 1-9, 1-10, 1-11 (franchise agreements).

On December 13, 2012, defendants executed a superseding

franchise agreement. See Doc. #1 at ¶6; see also Doc. #1-12

(2012 franchise agreement). In total, defendants have purchased

more than 30 Subway franchises from DAI since 2001. See Doc.

#16-2, Tripathi Dec. at ¶2.

    Each of the franchise agreements contains a dispute

resolution clause requiring the parties to arbitrate any dispute

or claim arising out of or relating to the franchise agreements.

See generally ##1-1, 1-2, 1-3, 1-4, 1-5, 1-6, 1-7, 1-8, 1-9, 1-

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10, 1-11; see Doc. #1-12 at ¶10 (hereinafter the “Arbitration

Clause”).2 The controlling version of the Arbitration Clause

provides, in relevant part: “Any dispute, controversy or claim

arising out of or relating to this Agreement or the breach

thereof shall be settled by arbitration.” Doc. #1-12 at ¶10a.

The Arbitration Clause further dictates that arbitration be held

in Bridgeport, Connecticut, and that “[a]ny disputes concerning

the enforceability or scope of the arbitration clause shall be

resolved pursuant to the Federal Arbitration Act, 9 U.S.C. § et

seq. (‘FAA’)[.]” Id. at ¶10b, f (sic).

     On March 23, 2016, defendants filed a lawsuit against DAI,

its development agent Chirayu Patel (“Patel”), and Patel’s

company, Letap Group, LLC (“Letap”) in California Superior

Court. See Doc. #1 at ¶10; see also Doc. #16-3, Ex. A

(California state court complaint). Pertinent to the discussion

below, defendants allege that Patel and Letap are California

residents. See id. at 4-5. Defendants further allege that the

“case arises out of [DAI’s], Patel’s and the Letap Group’s

persistent unlawful activity against the Tripathis’ franchises

beginning in 2015 and continuing to the present day.” Id. at 5.




2 Paragraph 14 of the 2012 franchise agreement “amends all ...
existing franchise agreements with [DAI.]” Doc. #1-12 at ¶14.
Accordingly, and the parties do not appear to dispute, that the
Arbitration Clause set forth in paragraph 10 of the 2012
franchise agreement (Doc. #1-12) governs here.
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Defendants further allege that their damages exceed one million

dollars. See id. at 13.

    According to the allegations of defendants’ state court

complaint, DAI uses development agents, which are independent

contractors, to assist in the managing of the Subway franchise

system. See Doc. #16-3 at 7. Defendants allege that “[i]n 2015,

Patel and Letap became the Development Agent over the

[Tripathis]” and began a “systematic fraud scheme ... to grow

their own Subway franchise empire by instigating [DAI] to

terminate franchises in Northern California and then cede them

to Patel or others of his choosing.” Id. Defendants allege that

Patel and his team at Letap “performed many trumped up and

negative evaluations of the Tripathis’ stores ... and then, in

many cases, falsely and/or misleadingly reported to [DAI] that

the Tripathis had various food safety issues and other

significant operating issues with the knowledge and intent that

[DAI] would terminate such franchises.” Id. at 7-8. Based on

these reports, DAI allegedly “instituted unauthorized and

unlawful arbitration proceedings for the purposes of terminating

the Tripathis’ franchises.” Id. at 8. Defendants assert the

following causes of action in the California complaint: (1)

Breach of Written Contract and Good Faith Covenant (vs. DAI);

(2) Violation of the California Franchise Relations Act (vs.

DAI); (3) Inducing Breach of Contract – Intentional Interference

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with Contractual Relations (vs. Patel, Letap and Does 1-10); (4)

Conversion and Civil Theft (vs. DAI and Does 1-10); (5)

Declaratory Relief as to defendants’ rights and obligations

under the franchise agreements (vs. DAI, Patel and Letap); and

(6) Business and Professional Code §17200 Violations (vs. DAI,

Patel, Letap and Does 1-10). See generally Doc. #16-3. In

addition to seeking specific performance of the franchise

agreements and monetary damages, defendants also ask the

California court to, inter alia, “enjoin[] any arbitration

proceedings that [DAI] or Patel has instituted or might

institute against [the Tripathis.]” Id. at 19.

    DAI filed the instant Petition to Compel Arbitration on

April 8, 2016 [Doc. #1], to which defendants filed an opposition

and Motion to Dismiss. [Doc. ##16, 17]. On October 3, 2016, DAI

filed a Motion for Preliminary and/or Permanent Injunction

requesting that the Court enjoin defendants from prosecuting the

claims in the California state court proceedings. [Doc. #33].

Specifically, DAI alleges that defendants have filed a motion in

the California state court seeking an “order that ... DAI will

never be entitled to a stay of this matter under the California

Arbitration Act or the Federal Arbitration Act and that DAI’s

arbitration clause with the Tripathis is unconscionable and

unenforceable.” Doc. #33-2 at 1. There is a hearing scheduled on



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November 9, 2016, before the California state court to address

the merits of the defendants’ motion. See id. at 2.

      Because the Court cannot act on DAI’s Petition to Compel

Arbitration if there is a lack of subject-matter jurisdiction,

the Court turns first to defendants’ Motion to Dismiss.

                             III. DISCUSSION

A. Motion to Dismiss, Abstain and/or Transfer Action to
   California [Doc. #16]3

    1. Challenges to the Connecticut Judgment

      Defendants first contend that the Court should dismiss the

Petition to the extent it seeks to compel arbitration of

defendants’ California challenge to a Connecticut state court

judgment entered in DAI’s favor and to enjoin ongoing

unauthorized arbitration proceedings. See Doc. #16-1 at 19.

      Before defendants filed the California state court action,

DAI filed a Demand for Arbitration with the American Dispute

Resolution Center (“ADRC”) alleging that defendants had breached




3On May 17, 2016, defendants filed their Motion to Dismiss with
a Memorandum in Support and a Memorandum in Opposition to the
Petition to Compel Arbitration. [Doc. ##16-1, 17]. These
memoranda are identical. In addressing the Motion to Dismiss
arguments, the Court will reference the memorandum at docket
entry 16-1. In addressing defendants’ arguments in opposition to
the Petition to Compel, the Court will reference the memorandum
at docket entry 17. The Court further refers to ECF header page
numbers, rather than any page numbering in the body of the
documents, throughout this discussion.


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several franchise agreements.4 Defendants appeared for

arbitration before the ADRC and submitted evidence. After

considering all of the evidence, the arbitrator found defendants

breached three franchise agreements entered into with DAI.

     Defendants were provided notice of the arbitral award, but

did not object or otherwise seek to modify the award.

Accordingly, on December 15, 2015, DAI filed an Application to

Confirm Arbitration Award in Connecticut Superior Court.

Although defendants were served with a summons and the

Application, the defendants failed to appear and a Judgment

without Trial was entered on January 11, 2016. DAI filed an

action in Contra Costa County, California, seeking to

domesticate the Connecticut judgment. The California action

seeking to bar the instant disputes was filed by defendants on

March 23, 2016, in Marin County, California.

     Defendants first contend that “[c]hallenges to court

judgments affirming an arbitration award are not arbitrable[,]”

and represent that the complaint pending in Marin County alleges

that the Connecticut judgment is invalid. Doc. #16-1 at 19.

Although defendants will purportedly “raise these arguments in

defense to any enforcement proceedings,” it is the position of

the defendants that the California court in Marin County has


4This background is generally derived from the Tripathi
Declaration and the attached exhibits. See Doc. #16-2.
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authority to decide the issue of the validity of the Connecticut

judgment. See id. DAI responds that defendants “misconstrue the

Petition to Compel, which simply seeks to require the

[defendants] to arbitrate the claims asserted in their lawsuit

for damages pending in Marin County, California.” Doc. #26 at 6.

Additionally, defendants note the pendency of the other separate

action in Contra Costa County, California, in which DAI has

sought domestication of the Connecticut judgment. See id. In

that regard, “DAI agrees that an action domesticating an already

court-confirmed arbitration award is appropriately filed in a

court in the state where domestication is sought. That action is

the appropriate place for the [defendants] to make their

arguments” challenging the Connecticut judgment. Id.

    The Court declines to dismiss the Petition on grounds

relating to a challenge of the Connecticut judgment. First, the

Court credits the representation of DAI’s counsel that the

Petition “simply seeks to require the [defendants] to arbitrate

the claims asserted in their lawsuit for damages pending in

Marin County, California.” Doc. #26 at 6. It is plain that DAI

is not seeking to compel arbitration as to the domestication

proceedings currently pending in Contra Costa County,

California, or as to proceedings which would otherwise decide

the domestication or validity of the prior Connecticut judgment.

Moreover, any challenges to the Connecticut judgment are not

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properly before this Court in deciding whether or not to compel

arbitration. Rather, any such arguments should likely be made in

the Contra Costa County action, where DAI seeks the

domestication of the Connecticut judgment. In that regard, the

record indicates that defendants have presented such arguments

to the Contra Costa County court and will not be prejudiced by

this Court’s declination to consider the same. See generally

Doc. #26-2 (defendants’ Memorandum in Support of Motion to

Vacate Sister State Judgment, arguing that the “Connecticut

judgment and supporting arbitration award were rendered in

excess of jurisdiction” and that “DAI is guilty of misconduct”).

    Second, to the extent the defendants attempt to

collaterally attack the previously entered arbitration awards in

the breach of contract count in the Marin County, California

complaint, as discussed further below, it is for the arbitrator

and not this Court to determine issues of arbitrability of any

such claims. Accordingly, any arguments concerning whether

defendants’ California complaint’s breach of contract claim are

properly within the scope of the Arbitration Clause will be for

the arbitrator’s decision. Finally, defendants have not

requested that this Court vacate the three arbitral awards with

which defendants take issue. Accordingly, issues surrounding the

existing Connecticut judgment provide no basis upon which to

dismiss the Petition.

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  2. Subject-Matter Jurisdiction

      Defendants contend that the Court should dismiss DAI’s

Petition to Compel Arbitration for lack of diversity

jurisdiction. See Doc. #16-1 at 20. Defendants argue that DAI’s

petition “expressly asks the Court to compel arbitration with

Patel and Letap although they are not named as parties[,]” which

destroys the basis of diversity jurisdiction. Id. Alternatively,

defendants contend that Patel and Letap are indispensable

parties under Federal Rule of Civil Procedure 19, and that once

they are joined in this action, diversity will be destroyed. See

id. at 21. DAI responds that there is diversity jurisdiction and

that its agents, namely Patel and Letap, are not indispensable

parties. See Doc. #26 at 12-13. DAI also insists that it does

not seek to compel arbitration against its agents. See id. at

14.

           a. Applicability of the “Look Through” Doctrine

      DAI filed the Petition to Compel Arbitration pursuant to

section 4 of the Federal Arbitration Act (“FAA”). See Doc. #1.

The FAA “bestows no federal jurisdiction but rather requires for

access to a federal forum an independent jurisdictional basis

over the parties’ dispute.” Doscher v. Sea Port Grp. Sec., LLC,

832 F.3d 372, 380 (2d Cir. 2016) (quoting Vaden v. Discover

Bank, 556 U.S. 49, 59 (2009)). Here, DAI alleges diversity of

citizenship as a basis for the Court’s subject-matter

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jurisdiction. See Doc. #1. To invoke diversity jurisdiction, DAI

“must show complete diversity — that is, that it does not share

citizenship with any defendant.” Doctor’s Assocs., Inc. v.

Distajo, 66 F.3d 438, 445 (2d Cir. 1995) (collecting cases)

(internal quotation marks omitted).

    DAI’s petition names only itself, a Florida corporation,

and defendants, who are admittedly California residents. See

Doc. #1; Doc. #16-2, Tripathi Dec. at ¶2. There is no dispute

that the amount in controversy exceeds $75,000. However,

defendants request that the Court “look through” the Petition to

the underlying controversy for purposes of determining whether

the Court has diversity jurisdiction. See Doc. #16-1 at 20.

    The Court declines to “look through” the Petition for

purposes of establishing diversity jurisdiction. “Section 4 of

the [FAA] provides that a party aggrieved by the alleged failure

of another to arbitrate may petition any United States district

court which would have jurisdiction ... of the subject matter of

a suit arising out of the controversy between the parties.”

Doctor’s Assocs., Inc. v. Hamilton, 150 F.3d 157, 161 (2d Cir.

1998) (quoting 9 U.S.C. §4) (internal quotation marks omitted)

(emphasis in original). “The ‘parties’ to which §4 of the FAA

refers are the parties to the petition to compel. As with any

federal action, diversity of citizenship is determined by

reference to the parties named in the proceeding before the

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district court, as well as any indispensable parties who must be

joined pursuant to Rule 19 of the Federal Rules of Civil

Procedure.” Distajo, 66 F.3d at 445 (emphasis added). Based on

this reasoning, the Second Circuit has found that a district

court “was correct in looking only to the citizenship of the

parties in the action before it – that is, DAI and the

franchisees, who signed the arbitration agreement – to determine

whether there was complete diversity.” Id. at 446. If the Court

were to look to the parallel state court proceeding for purposes

of diversity jurisdiction, “a party resisting arbitration could

defeat federal jurisdiction simply by suing someone from the

same state, plus the party seeking to compel arbitration, in a

separate state lawsuit.” Id. Other courts have also declined to

“look through” to a parallel state proceeding for purposes of

ascertaining diversity jurisdiction. See, e.g., Hamilton, 150

F.3d at 161; Doctor’s Assocs., Inc. v. Hollingsworth, 949 F.

Supp. 77, 81-82 (D. Conn. 1996).

    In requesting that the Court “look through” to the

underlying state court complaint, defendants rely on the Supreme

Court case of Vaden v. Discover Bank, 556 U.S. 49 (2009), which

held that under section 4 of the FAA, federal courts have

jurisdiction to hear a petition to compel arbitration between

non-diverse parties so long as the underlying dispute between

the parties “arises under” federal law. See id. at 62. Vaden

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does not, however, explicitly extend to questions of diversity

jurisdiction. See id. (“Attending to the language of the FAA and

the above-described jurisdictional tenets, we approve the ‘look

through’ approach to this extent: A federal court may ‘look

through’ a §4 petition to determine whether it is predicated on

an action that ‘arises under’ federal law[.]” (emphasis added));

see also UBS Sec. LLC v. Voegeli, 684 F. Supp. 2d 351, 354

(S.D.N.Y. 2010), aff’d, 405 F. App’x 550 (2d Cir. 2011) (“In

cases where the parties are not diverse, a federal court may

‘look through’ a petition under §4 of the FAA to determine

whether it is predicated on an action that ‘arises under’

federal law.” (citing Vaden, 556 U.S. at 62)). Although

defendants contend that “some courts have suggested [Vaden] is

applicable in diversity cases[,]” defendants cite to only one

case, a non-binding and largely discredited decision from the

Northern District of West Virginia. Doc. #16-1 at 20 (citing

Cytec Indus., Inc. v. Powell, 630 F. Supp. 2d 680, 686 n.2

(N.D.W. Va. 2009)). There, in a footnote, the district court

noted that “the reasoning in Vaden appears equally applicable to

cases resting on alleged diversity jurisdiction, where no

diversity exists in the underlying substantive action.” Cytec

Indus., 630 F. Supp. 2d at 686 n.2. The Court finds this non-

binding authority unpersuasive and contrary to the controlling

law in this Circuit, and other Circuits across the country. See,

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e.g., CarMax Auto Superstores CA LLC v. Hernandez, 94 F. Supp.

3d 1078, 1094 (C.D. Cal. 2015) (“The court agrees with the

Eighth Circuit’s reasoned analysis, and concludes that the

Supreme Court’s holding in Vaden is not so expansive as to

mandate that a district court adopt the ‘look-through approach’

to determine whether it has diversity jurisdiction to hear a §4

petition. In reaching this conclusion, the court finds

particularly significant the expressly limited nature of the

Vaden Court’s approval of the ‘look-through approach’ to assess

the existence of federal question jurisdiction.” (citation

omitted)).

    In reply, defendants also claim that “[l]ast month, the

Second Circuit, based on Vaden, overruled its own precedent and

held the district court could ‘look through’ a FAA petition to

determine if the underlying dispute involved questions of

federal law sufficient to confer jurisdiction.” Doc. #30 at 6

(citing Doscher, 832 F.3d at 381). Doscher, however, cannot be

broadly read to support an argument that a federal court may

also “look through” a FAA petition for purposes of ascertaining

diversity jurisdiction. In Doscher, the Second Circuit

“reconsider[ed] the continuing viability of our Court’s

precedent in Greenberg v. Bear, Stearns & Co., 220 F.3d 22 (2d

Cir. 2000), in which we held that a district court may exercise

federal-question jurisdiction over a §10 petition only if the

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petition states a substantial federal question on its face —

i.e., a district court may not ‘look through’ the petition to

determine if the underlying dispute that was subject to

arbitration involved substantial questions of federal law.” Id.

at 373. The Second Circuit ultimately concluded that “Greenberg

cannot survive Vaden’s later established precedent[,]” and thus

held that “a federal district court faced with a §10 petition

may ‘look through’ the petition to the underlying dispute,

applying to it the ordinary rules of federal-question

jurisdiction and the principles laid out by the majority in

Vaden.” Id. at 388. (emphasis added). Doscher explicitly

considers federal question jurisdiction and does not support a

finding that this court should “look through” the Petition for

purposes of ascertaining diversity jurisdiction. Therefore,

defendants’ reliance on Doscher is misplaced.

    Accordingly, the Court declines to “look through” the

Petition, but instead, to ascertain whether diversity of

citizenship exists, looks to the citizenship of the actual

parties to the Petition, as well as any indispensable parties

who must be joined pursuant to Rule 19 of the Federal Rules of

Civil Procedure.

          b. Joinder of the Development Agents under Rule 19

    Defendants do not dispute that there is complete diversity

of jurisdiction between defendants and DAI, but alternatively

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argue that Patel and Letap are indispensable parties under Rule

19. See Doc. #16-1 at 21. In support of this argument,

defendants largely rely on non-binding Fourth Circuit law. See

generally id. at 21-23. DAI generally responds that Patel and

Letap are not required or indispensable parties under Rule 19.

See generally Doc. #26 at 13-18.

    Rule 19 governs the circumstances under which joinder of a

party is required. See Fed. R. Civ. P. 19. Defendants argue that

Patel and Letap are necessary parties under Rule 19(a)(2)(ii).

However, defendants cite to and rely on a defunct version of

Rule 19(a); there is no section (a)(2)(ii) in the current

version of Rule 19, which took effect in 2007. Regardless, Rule

19(a) applies where joinder is “feasible,” that is, where it

would not “deprive the court of subject-matter jurisdiction[.]”

Fed. R. Civ. P. 19(a)(1). Joinder here is not “feasible” because

joining Patel and Letap would destroy the Court’s subject-matter

jurisdiction. Accordingly, the Court moves to the Rule 19(b)

inquiry: whether Patel and Letap are required parties to this

action.

    The Second Circuit’s ruling in Distajo guides this Court’s

analysis. “[I]ndividuals who are not parties to the arbitration

agreement cannot be ‘[required]’ parties under Rule 19(b) if

they do not meet either of the threshold tests of Rule 19(a).”



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Distajo, 66 F.3d at 446 (footnote omitted). Rule 19(a)(1)

provides:

    A person who is subject to service of process and whose
    joinder will not deprive the court of subject-matter
    jurisdiction must be joined as a party if: (A) in that
    person’s absence, the court cannot accord complete
    relief among existing parties; (B) that person claims an
    interest relating to the subject of the action and is so
    situated that disposing of the action in the person’s
    absence may: (i) as a practical matter impair or impede
    the person’s ability to protect the interest; or
    (ii) leave an existing party subject to a substantial
    risk of incurring double, multiple, or otherwise
    inconsistent obligations because of the interest.

Fed. R. Civ. P. 19(a)(1).

    After considering the “threshold tests” of former Rule

19(a)(1), the Distajo court rejected the argument that DAI’s

development agents, there non-parties to the franchise agreement

and to the district court proceedings, were indispensable

parties to the federal action to compel arbitration. See

Distajo, 66 F. 3d at 445. The Distajo court held:

    Neither condition [of Rule 19(a)(1)] is satisfied in the
    present case. First, the district court can grant all
    the relief sought by DAI in this case — an order
    compelling arbitration — regardless of whether DAI’s
    development agents (nonparties to the arbitration
    agreement) are present. Second, the other consideration
    set forth in Rule 19(a) — possible prejudice resulting
    from piecemeal litigation — is overcome in this context
    by the FAA’s strong bias in favor of arbitration. Indeed,
    the Supreme Court has categorically stated that the FAA
    requires courts to enforce an arbitration agreement
    “notwithstanding the presence of other persons who are
    parties to the underlying dispute but not to the
    arbitration agreement.” Moses H. Cone, 460 U.S. at 20,
    103 S.Ct. at 939.


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Distajo, 66 F.3d at 446.

    The relief sought in DAI’s petition to compel arbitration

is independent of the underlying contractual dispute; that is,

it involves only a decision on whether or not to compel

arbitration, not the outcome of the underlying dispute.

Accordingly, the line of reasoning set forth in Distajo holds

here, because resolution of the question of whether or not

arbitration can be compelled does not involve Patel or Letap,

who are nonparties to the arbitration agreement at issue.

Accordingly, because the Court can accord complete relief among

the existing parties, i.e., DAI and defendants (the only

signatories to the 2012 franchise agreement containing the

Arbitration Clause), Patel and Letap are not required parties to

this action under Rule 19(a)(1)(A).

    A similar conclusion results after considering defendants’

Rule 19(a)(1)(B)(ii) argument, namely, that concurrent state and

federal proceedings concerning arbitrability will create a high

likelihood that one or more of the parties will face

inconsistent obligations. See Doc. #16-1 at 21. Defendants also

relatedly argue that they will be prejudiced if a judgment is

rendered in Patel and Letap’s absence. See id. at 22. The Court

finds these arguments without merit in light of the Second

Circuit’s reasoning in Distajo that the “possible prejudice

resulting from piecemeal litigation [] is overcome in this

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context by the FAA’s strong bias in favor of arbitration.”

Distajo, 66 F.3d at 466.5

     Defendants attempt to distinguish Distajo, arguing that

there, DAI was not seeking to compel arbitration by the

franchisees against DAI’s development agents. See Doc. #30 at 4.

Defendants further argue that Patel and Letap are not

“strangers” to the arbitration agreement, unlike the development

agents in Distajo. See id.

     Defendants’ efforts to distinguish Distajo are

unpersuasive. Despite defendants’ contrary characterizations,

Distajo did involve claims against DAI’s agents in the state

court litigation. See Distajo, 66 F.3d at 444-45. Further, the

defendants misconstrue Distajo. For example, defendants contend

that unlike the agents in Distajo, Patel and Letap are not

“strangers” to the arbitration agreement. However, under the

reasoning of Distajo, Patel and Letap are in fact “strangers” to

the arbitration agreement because they are not signatories to

the 2012 franchise agreement containing the Arbitration Clause.

See id. at 446 (categorizing “strangers” to the arbitration




5Defendants do not address Rule 19(a)(1)(B)(i). See Doc. #16-1
at 21.


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agreement as those who are not parties to the arbitration

agreement, like Patel and Letap, here).6

     Defendants also attempt to argue that Patel and Letap are

indispensable in light of the Second Circuit’s recognition that

“[n]o procedural principle is more deeply imbedded in the common

law than that, in an action to set aside a lease or a contract,

all parties who may be affected by the determination of the

action are indispensable.” Doc. #30 at 5 (quoting Fluent v.

Salamanca Indian Lease Auth., 928 F.2d 542, 547 (2d Cir. 1991))

(emphasis removed). Although this argument may be persuasive in

a typical contract dispute, defendants fail to appreciate the

nature of the relief that is sought in the proceedings before

this Court – that is, whether or not to compel arbitration.

Defendants’ reliance on Niagara Mohawk Power Corporation v.

Tonawanda Band of Seneca Indians, 862 F. Supp. 995, 1003-03

(W.D.N.Y. 1994), is similarly misplaced as that matter did not

involve a petition to compel arbitration, but rather sought a

declaratory judgment as to the parties’ rights and obligations

under a franchise agreement. See id.




6Additionally, it is unlikely that defendants will encounter
inconsistent results in light of the Court’s recommendation that
the District Court grant DAI’s Motion for Preliminary and/or
Permanent Injunction against the California state court
litigation. See infra.
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      Finally, defendants contend that “DAI’s Petition

effectively seeks a declaration that the arbitration provision

is applicable to Patel and Letap.” Doc. #30 at 5. DAI vigorously

disputes this characterization of the Petition. See Doc. #26 at

14.

      One reading of DAI’s Petition could suggest that it seeks

to compel defendants to arbitrate against Patel and Letap, who

are admittedly DAI’s agents. See Doc. #1 at 3-4 (“DAI requests

that this Court enter an order pursuant to 9 U.S.C. §4 directing

the Tripathis to arbitrate their claims against DAI and its

agents that they asserted or could have asserted in the

California State Court Lawsuit pending arbitration of their

dispute with DAI in the manner provided in the Agreements’

arbitration clauses[.]”). However, as set forth in the Petition,

such a request is plainly circumscribed by the terms of the 2012

franchise agreement:

      You may only seek damages or any remedy under law or
      equity for any arbitrable claim against us or our
      successors or assigns. You agree that our ... agents and
      representatives, and their affiliates, shall not be
      liable nor named as a party in any arbitration or
      litigation proceeding commenced by you where the claim
      arises out of or relates to this Agreement. You further
      agree   that   the  foregoing   parties   are   intended
      beneficiaries of the arbitration clause; and that all
      claims against them that arise out of or relate to this
      Agreement must be resolved with us through arbitration.

Doc. #1-12 at ¶10d (emphasis added); see also Doc. #1 at ¶9.

Indeed, DAI contends that this language “explicitly state[s]

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that the [development agents] would not be parties to any

arbitration and that any claims based on their conduct would

have to be raised in arbitration against DAI alone.” Doc. #26 at

14. This requirement, according to DAI, “prevents franchisees

... from bypassing the arbitration agreement entirely by

pursuing claims against DAI’s agents.” Id. DAI further states

that it is “willing to stipulate that it will not argue that its

agents’ actions, as alleged by the Tripathis, were outside of

the scope of their agency for DAI.” Id. at n.6. Regardless of

how DAI characterizes the Petition, the defendants facially

agreed to arbitrate any claims under the FAA against DAI alone

and pursuant to that agreement may not name DAI’s agents as

parties to any proceeding, arbitration or otherwise. See Doc.

#1-12 at ¶10d. As discussed below, arbitrability has been

delegated to the arbitrator, and therefore, what claims may be

arbitrated against whom, or whether the arbitration clause is

enforceable, are determinations for the arbitrator’s

consideration in the first instance.

    Defendants contend in reply that the clause relied upon by

DAI violates California law because it exculpates Patel and

Letap from any liability. See Doc. #30 at 5-6. Defendants rely

on California Civil Code section 1668, which provides: “All

contracts which have for their object, directly or indirectly,

to exempt anyone from responsibility for his own fraud, or

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willful injury to the person or property of another, or

violation of law, whether willful or negligent, are against the

policy of the law.” Cal. Civ. Code §1668. Defendants recite this

statute without addressing its nuances as discussed by the

California state and federal courts. Nevertheless, because this

argument goes to the enforceability of the Arbitration Clause,

and as discussed below, the issue of arbitrability has been

delegated to the arbitrator, the Court declines to reach the

merits of this argument.

      Accordingly, for the reasons stated, the Court finds that

Patel and Letap are not required parties to this action and

therefore the Court has diversity jurisdiction over the Petition

to Compel Arbitration.

  3. Abstention

      Defendants also argue that, even if this Court has subject

matter jurisdiction, it should abstain from exercising that

jurisdiction under the Colorado River abstention doctrine in

light of the parallel state court proceeding. See Doc. #16-1 at

23 (relying on Colorado River Water Conservation Dist. v. United

States, 424 U.S. 800 (1976)). DAI responds, inter alia, that

Colorado River abstention is limited to exceptional

circumstances, which are not present here. See Doc. #26 at 19-

20.

      The Supreme Court has cautioned:

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     Abstention from the exercise of federal jurisdiction is
     the exception, not the rule. “The doctrine of
     abstention, under which a District Court may decline to
     exercise or postpone the exercise of its jurisdiction,
     is an extraordinary and narrow exception to the duty of
     a District Court to adjudicate a controversy properly
     before it. Abdication of the obligation to decide cases
     can be justified under this doctrine only in the
     exceptional circumstances where the order to the parties
     to repair to the state court would clearly serve an
     important countervailing interest.” County of Allegheny
     v. Frank Mashuda Co., 360 U.S. 185, 188-189 (1959).

Colorado River, 424 U.S. at 813. When considering a question of

Colorado River abstention, the Court must first determine

whether the state and federal proceedings are parallel. See

Dittmer v. County of Suffolk, 146 F.3d 113, 118 (2d Cir. 1998);

Smulley v. Mutual Omaha Bank, 634 F. App’x 335, 336 (2d Cir.

2016). Next, the Court evaluates and balances the following

factors: “(1) assumption of jurisdiction over a res; (2)

inconvenience of the forum; (3) avoidance of piecemeal

litigation; (4) order in which the actions were filed; (5) the

law that provides the rule of decision; and (6) protection of

the federal plaintiff’s rights.” Williams v. Lambert, 46 F.3d

1275, 1283 (2d Cir. 1995) (quoting De Cisneros v. Younger, 871

F.2d 305, 307 (2d Cir. 1989)); see also Smulley, 634 F. App’x at

336 (same). “[T]he decision whether to dismiss a federal action

because of parallel state-court litigation does not rest on a

mechanical checklist, but on a careful balancing of the

important factors as they apply in a given case, with the


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balance heavily weighted in favor of the exercise of

jurisdiction.” Moses H. Cone Mem’l Hosp. v. Mercury Const.

Corp., 460 U.S. 1, 16 (1983). Assuming, without deciding, that

the current matter and the state court proceedings are parallel,

balancing the above factors does not weigh in favor of

abstention.

    Defendants first contend that because the California court

has jurisdiction over the defendants’ franchises and leaseholds,

and the personal property, fixtures and equipment of each

franchise, this factor weighs in favor of abstention. See Doc.

#16-1 at 24-25. Although the Court does not disagree with this

characterization of the physical location of the property,

neither this action nor the California action involves

jurisdiction over property. The current matter simply asks this

Court to compel arbitration. The California action sounds in

breach of contract and tort. “The Second Circuit has noted that

the absence of jurisdiction by either the state or federal court

over property ‘point[s] toward [the] exercise of jurisdiction.’”

Goldentree Asset Mgmt., L.P. v. Longaberger Co., 448 F. Supp. 2d

589, 593 (S.D.N.Y. 2006) (quoting De Cisneros, 871 F.3d at 307).

Accordingly, “for purposes of the Colorado River analysis, the

first factor weighs slightly against abstention.” Id. (finding

that where neither the federal action nor the state court action

involved jurisdiction over property, for purposes of Colorado

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River abstention, this first factor weighed “slightly against

abstention”); see also Vill. of Westfield v. Welch’s, 170 F.3d

116, 122 (2d Cir. 1999) (“This action was not an in rem action

and did not involve jurisdiction over property. We have held

that the absence of a res points toward exercise of federal

jurisdiction. This factor thus weighs against the stay.”

(internal quotation marks and citation omitted)).

    Defendants contend that the second factor, inconvenience of

the federal forum, also weighs in favor of abstention. See Doc.

#16-1 at 25. In support of this argument, defendants represent

that the California court is closer to the evidence, franchises

and witnesses. See id. Although the majority of the evidence and

witnesses may be located in California, DAI’s headquarters,

executives, general counsel, and presumably the documents that

would be at issue in the California state court proceedings, are

located in Connecticut. See generally Doc. #26-1, Piselli Dec.;

Doc. #1-12 at ¶11e (requiring legal notices be sent to the legal

department in Milford, Connecticut). Accordingly, this factor

does not justify the Court abstaining in this matter. See

Welch’s, 170 F.3d at 122 (“We have held that where the federal

court is ‘just as convenient’ as the state court, that factor

favors retention of the case in federal court.” (citation

omitted)).



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    With respect to the third factor, the potential for

piecemeal litigation, defendants contend that this factor

“strongly favors abstention.” Doc. #16-1 at 25. Specifically,

defendants assert that because “the two actions ask the

respective courts to decide the enforceability of DAI’s

arbitration scheme, both courts would be considering the same

issues and could possibly come to conflicting decisions.” Id.

The Court disagrees. “First, the Supreme Court has held that

‘mere potential for conflict in the results of adjudications,

does not, without more, warrant staying exercise of federal

jurisdiction.’” Welch’s, 170 F.3d at 123 (quoting Colorado

River, 424 U.S. at 816). Also, the Supreme Court has noted that

the concern over piecemeal litigation is trumped in the

arbitration context because “the relevant federal law requires

piecemeal resolution when necessary to give effect to an

arbitration agreement.” Moses Cone, 460 U.S. at 20. Finally, the

risk of piecemeal litigation is further reduced in light of

DAI’s filing of a motion for temporary or permanent injunction,

which if granted pursuant to this Court’s recommendation, will

prevent the issuance of conflicting decisions.

    The fourth factor, the order in which the cases were filed,

also weighs against abstention. “This factor does not turn

exclusively on the sequence in which the cases were filed, but

rather in terms of how much progress has been made in the two

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actions. In addition, where there has been limited progress in a

state court suit, the fact that the state action was commenced

before the federal suit carries little weight.” Welch’s, 170

F.3d at 122 (internal quotation marks and citations omitted).

Defendants admit that “only negligible progress” has occurred in

the California court. Doc. #16-1 at 25. Accordingly, this factor

also weighs against abstention. See Doctor’s Assocs., Inc. v.

Distajo, 107 F.3d 126, 138 (2d Cir. 1997) (finding district

court did not abuse its discretion in refusing to abstain where

a default judgment entered in the parallel state court

proceeding was not sufficiently “substantial” to warrant

abstention under Moses Cone).

    Defendants next contend that the fifth factor, the law that

provides the rule of decision, also favors abstention because

California law governs whether the arbitration agreement is

unconscionable or against public policy. See Doc. #16-1 at 25.

Assuming, without here deciding, that California law would apply

to a determination of whether the Arbitration Clause is

enforceable, there is nothing to suggest that a federal court,

sitting in diversity, would be unable to apply California law,

or that the issues raised by defendants present new or novel

issues of California law. Accordingly, the Court finds this to

be a neutral factor. See Woodford v. Cmty. Action Agency of

Greene Cty., Inc., 239 F.3d 517, 522 (2d Cir. 2001) (“[T]he

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facial neutrality of a factor is a basis for retaining

jurisdiction, not for yielding it.”).

    Defendants last contend that the California action is

adequate to protect DAI’s interests. See Doc. #16-1 at 25.

However, the Court is bound to disagree with this

characterization as the relief sought by DAI in the current

action, i.e., to compel arbitration, can only be granted by a

Court sitting in this District. See 9 U.S.C. §4. The California

court cannot order arbitration. Accordingly, the California

action would not be adequate to protect DAI’s interests.

Therefore, this factor also weighs slightly against abstention.

     “In this analysis [under Moses Cone], the balance is

heavily weighted in favor of the exercise of jurisdiction.”

Woodford, 239 F.3d at 522 (citation and internal quotation marks

omitted). Accordingly, based on the Court’s consideration of the

above factors, and the precedent holding that abstention

generally is not appropriate in the context of petitions to

compel arbitration brought pursuant to the FAA, the Court

declines to dismiss or stay this matter on Colorado River

abstention grounds. See, e.g., Nationwide Mut. Fire Ins. Co. v.

George V. Hamilton, Inc., 571 F.3d 299 (3d Cir. 2009); Answers

in Genesis of Ky, Inc. v. Creation Ministries Int’l Ltd., 556

F.3d 459 (6th Cir. 2009); First Franklin Fin. Corp. v. McCollum,

144 F.3d 1362 (11th Cir. 1998).

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  4. Request to Transfer to the Northern District of California

    Defendants summarily contend that this Court should

transfer the present action to the Northern District of

California under the first-filed rule. See Doc. #16-1 at 26.

Defendants rely on an unreported case from the Southern District

of Florida for the proposition that this Court should transfer

the Petition to Compel Arbitration to the Northern District of

California “notwithstanding the fact that a motion to compel

arbitration is generally filed in the district where arbitration

is sought.” Doc. #16-1 at 26 (citing Colorall Techs. Int’l, Inc.

v. Plait, No. 05CV60401(COHN), 2005 WL 4655380 (S.D. Fla. July

15, 2005)).

         a. First-Filed Rule

    Defendants’ reliance on the first-filed rule is misplaced.

“The ‘first filed’ rule states that where an action is brought

in one federal district court and a later action embracing the

same issue is brought in another federal court, the first court

has jurisdiction to enjoin the prosecution of the second action,

unless there are special circumstances which justify giving

priority to the second action.” City of New York v. Exxon Corp.,

932 F.2d 1020, 1025 (2d Cir. 1991) (citations omitted) (emphasis

added). Here, there is no “first-filed” federal action which

would implicate the first-filed rule, as defendants’ complaint,

admittedly the first to be filed in this dispute, is pending in

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state, not federal court. Additionally, defendants conveniently

ignore the well-established precedent holding that the first-

filed rule does not apply to cases of parallel state and federal

proceedings. See Colorado River, 424 U.S. at 817 (“Generally, as

between state and federal courts, the rule is that the pendency

of an action in the state court is no bar to proceedings

concerning the same matter in the Federal court having

jurisdiction[.]” (citation and internal quotation marks

omitted)); Nat’l Council on Comp. Ins., Inc. v. Caro & Graifman,

P.C., 259 F. Supp. 2d 172, 177–78 (D. Conn. 2003) (“[T]he

defendants argue that this action should be dismissed due to the

presence of a prior pending action in the New York Supreme

Court. The defendants’ argument ignores the well-established

federal rule that the ‘pendency of an action in state court is

no bar to proceedings concerning the same matter in the Federal

court having jurisdiction.’” (quoting Colorado River, 424 U.S.

at 817)); see also Kytel Int’l Grp., Inc. v. Rent A Ctr., Inc.,

43 F. App’x 420, 422 (2d Cir. 2002) (district court erred

dismissing action based on first-filed rule where the first-

filed action was pending in state, not federal court). “Although

the Supreme Court recognizes that ‘exceptional’ circumstances

may permit the dismissal of a federal suit due to the presence

of a concurrent state proceeding for reasons of wise judicial

administration, those circumstances are not present in this

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case.” Nat’l Council on Comp. Ins., 259 F. Supp. 2d at 178.

Further, as previously discussed, the Court does not find it

should abstain from exercising its jurisdiction under Colorado

River.

     Defendants’ reliance on Colorall in support of their first-

filed argument is also misplaced, and not “directly on point” as

contended. See Doc. #16-1 at 26. In Colorall, there was a first-

filed federal action pending. See Colorall, 2005 WL 4655380, at

*2. Here, that is admittedly not the case. Additionally,

defendants explicitly request that the Court transfer the

Petition. See Doc. #30 at 8. However, the Colorall court did not

transfer the petition to compel arbitration, but rather stayed

the determination of the petition, and transferred the matter to

the California federal court solely for a determination of

whether respondents were fraudulently induced into entering into

the arbitration agreement. See Colorall, 2005 WL 4655380, at *5-

6.   Accordingly, Colorall is not helpful to the Court’s analysis

in determining whether this matter should be transferred to the

Northern District of California.

     DAI has complied with the mandates of the FAA by filing the

Petition to Compel Arbitration in the District of Connecticut.

See 9 U.S.C. §4 (“[T]he hearings and proceedings, under [an

arbitration] agreement shall be within the district in which the

petition for an order directing such arbitration is filed.”);

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see also Doctor’s Assocs., Inc. v. Stuart, 85 F.3d 975, 983 (2d

Cir. 1996) (“A party who agrees to arbitrate in a particular

jurisdiction consents not only to personal jurisdiction but also

to venue of the courts within that jurisdiction.” (citation

omitted)); Vertucci v. Orvis, No. 3:05CV1307(PCD), 2006 WL

1688078, at *4 (D. Conn. May 30, 2006) (“This Court, however,

lacks the authority to compel the parties to proceed to

arbitration in accordance with the terms of the arbitration

agreement because that agreement provides for arbitration in

Utah. This Court’s authority to compel arbitration under Section

4 of the FAA is restricted to arbitration proceedings that occur

within this District.” (citing 9 U.S.C. §4)). Defendants concede

as much in their motion to dismiss. See Doc. #16-1 at 26.

          b. Forum Selection Clause

    Finally, in opposing defendants’ motion to transfer, DAI

contends that because the defendants “freely and voluntarily

entered into their Franchise Agreements, and they were aware

that those contracts unambiguously required arbitration in

Connecticut ... [t]he parties’ forum selection is therefore

presumptively enforceable.” Doc. #26 at 22 (citing cases). In

reply, defendants contend that “DAI is wrong that the franchise

agreement ‘unambiguously required arbitration in

Connecticut[,]’” in light of a 2012 franchise disclosure

document which “advised [defendants] that arbitration was

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subject to state law and expressly called out California

franchise law.” Doc. #30 at 8. Defendants claim to have believed

that pursuant to California state law, any arbitration would

take place in California. This argument, however, is poorly

developed and has no basis in fact or law. As an initial matter,

the section of the California Franchise Relations Act which

voids “a provision in a franchise agreement restricting venue to

a forum outside” of California has been held to be pre-empted by

the Federal Arbitration Act. See Bradley v. Harris Research,

Inc., 275 F.3d 884, 890 (9th Cir. 2001). Additionally, the 2012

franchise disclosure document upon which defendants rely stated

in numerous places that defendants would be required to

arbitrate in Connecticut. See Doc. #26-5 at 377 (“THE FRANCHISE

AGREEMENT REQUIRES YOU TO RESOLVE DISPUTES WITH US BY

ARBITRATION IN CONNECTICUT” (emphasis in original)); id. at 39

(“YOU SHOULD READ PARAGRAPH 10 OF THE FRANCHISE AGREEMENT

CAREFULLY.” (emphasis in original)); id. at 40 (“Arbitration and

any litigation must be held in Connecticut, subject to state

law.”). Accordingly, the Court does not find that the 2012

franchise disclosure document supports an argument in favor of

transferring this matter to the Northern District of California.




7The page numbers referenced in this document are those that
correlate to the PDF pages in light of the illegibility of the
ECF heading.
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      Thus, for the reasons stated, the Court recommends that

defendants’ Motion to Dismiss, Abstain, and/or Transfer Action

to California [Doc. #16] be DENIED.

B. Petition to Compel Arbitration [Doc. #1]

      Having found that the Court has subject-matter jurisdiction

to consider DAI’s Petition to Compel Arbitration, the Court now

turns to the parties’ arguments directed to whether this Court

should compel defendants to arbitrate their claims arising out

of the franchise agreements.8

    1. Legal Standards

      DAI seeks to compel arbitration pursuant to Section 4 of

the FAA. See Doc. #1 at 1. The FAA “creates a body of federal

substantive law of arbitrability applicable to arbitration

agreements ... affecting interstate commerce.” All. Bernstein

Inv. Research & Mgmt., Inc. v. Schaffran, 445 F.3d 121, 125 (2d

Cir. 2006) (quoting Moses Cone, 460 U.S. at 24) (internal




8On November 2, 2016, defendants filed a Notice of Supplemental
Authority in further support of their opposition to the Petition
and the Motion to Dismiss. [Doc. #43]. In large part, the notice
cites to legal authority that is not binding on this court. The
one Connecticut Supreme Court case cited was decided on August
16, 2016, well before defendants filed their motion for leave to
file sur-reply in opposition to petition to compel arbitration
on September 1, 2016. [Doc. #31]. Additionally, the
supplemental authority provided, like much of the other law
relied on by defendants, is not helpful to the Court’s analysis
as it does not involve or otherwise relate to the specific issue
now under consideration, that is, whether or not to compel
arbitration.
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quotation marks omitted). The parties do not dispute that the

franchise agreements at issue affect interstate commerce or that

the FAA applies to the arbitration agreement here at issue.

    “Any analysis of a party’s challenge to the enforcement of

an arbitration agreement must begin by recognizing the FAA’s

strong policy in favor of rigorously enforcing arbitration

agreements.” Hamilton, 150 F.3d at 162 (citing Perry v. Thomas,

482 U.S. 483, 490 (1987)); see also Thomson-CSF, S.A. v. Am.

Arbitration Ass’n, 64 F.3d 773, 776 (2d Cir. 1995) (recognizing

a “strong and liberal federal policy favoring arbitration

agreements” (citation and internal quotations omitted));

Considine v. Brookdale Senior Living, Inc., 124 F. Supp. 3d 83,

88 (D. Conn. 2015) (“The FAA ‘establishes a national policy

favoring arbitration when the parties contract for that mode of

dispute resolution.’” (quoting Preston v. Ferrer, 552 U.S. 346,

349 (2008))). The Court must also consider the following factors

in determining whether all or part of an action should be sent

to arbitration:

    [F]irst, it must determine whether the parties agreed to
    arbitrate; second, it must determine the scope of that
    agreement; third, if federal statutory claims are
    asserted, it must consider whether Congress intended
    those claims to be nonarbitrable; and fourth, if the
    court concludes that some, but not all, of the claims in
    the case are arbitrable, it must then decide whether to
    stay the balance of the proceedings pending arbitration.




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JLM Indus., Inc. v. Stolt-Nielsen SA, 387 F.3d 163, 169 (2d Cir.

2004) (quoting Oldroyd v. Elmira Sav. Bank, 134 F.3d 72, 75-76

(2d Cir. 1998)); see also Ferrie v. DirecTV, No. 15CV409(JCH),

2016 WL 183474, at *3 (D. Conn. Jan. 12, 2016) (same).

    Section 2 of the FAA is “the primary substantive provision

of the Act,” Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 67

(2010) (citing Moses Cone, 460 U.S. at 24), and provides:

    A written provision in ... a contract evidencing a
    transaction involving commerce to settle by arbitration
    a controversy thereafter arising out of such contract
    ... shall be valid, irrevocable, and enforceable, save
    upon such grounds as exist at law or in equity for the
    revocation of any contract

9 U.S.C. §2. Section 4 of the FAA prescribes the procedures

courts follow when considering motions to compel arbitration,

and states, in pertinent part:

    A party aggrieved by the alleged failure, neglect, or
    refusal of another to arbitrate under a written
    agreement for arbitration may petition ... for an order
    directing that such arbitration proceed in the manner
    provided for in such agreement. ... The court shall hear
    the parties, and upon being satisfied that the making of
    the agreement for arbitration or the failure to comply
    therewith is not in issue, the court shall make an order
    directing the parties to proceed to arbitration in
    accordance with the terms of the agreement. ... If the
    making of the arbitration agreement or the failure,
    neglect, or refusal to perform the same be in issue, the
    court shall proceed summarily to the trial thereof.

9 U.S.C. §4. In considering a petition to compel arbitration,

the Court “applies a standard similar to that applicable for a

motion for summary judgment.” Bensadoun v. Jobe-Riat, 316 F.3d



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171, 175 (2d Cir. 2003) (collecting cases); see also D’Antuono

v. Serv. Road Corp, 789 F. Supp. 2d 308, 319 (D. Conn. 2011)

(same). Therefore, “where the undisputed facts in the record

require the matter of arbitrability to be decided against one

side or the other as a matter of law,” the Court may grant or

deny the petition without a trial. Wachovia Bank, Nat’l Ass’n v.

VCG Special Opportunities Master Fund, Ltd., 661 F.3d 164, 172

(2d Cir. 2011); see also D’Antuono, 789 F. Supp. 2d at 319–20

(illuminating the summary judgment standard in the context of a

petition to compel arbitration).

  2. Choice of Law

    “While the FAA expresses a strong federal policy in favor

of arbitration, the purpose of Congress in enacting the FAA was

to make arbitration agreements as enforceable as other

contracts, but not more so.” Cap Gemini Ernst & Young, U.S.,

L.L.C. v. Nackel, 346 F.3d 360, 364 (2d Cir. 2003) (citation and

internal quotation marks omitted) (emphasis in original).

“Accordingly, while the FAA creates a body of federal

substantive law of arbitrability, applicable to any arbitration

agreement within the coverage of the Act, in evaluating whether

the parties have entered into a valid arbitration agreement, the

court must look to state law principles.” Id. (internal citation

and quotation marks omitted). Here, defendants argue that

California law applies to the instant dispute. DAI, by contrast,

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contends that the Connecticut choice of law provision set forth

in the 2012 franchise agreement is enforceable, and therefore,

Connecticut law applies.

     “As a federal court sitting in diversity jurisdiction, the

District Court is obligated to apply the law of the forum state

in analyzing preliminary choice-of-law questions.” Id. (citation

and internal quotation marks omitted). “The threshold choice of

law issue in Connecticut, as it is elsewhere, is whether there

is an outcome determinative conflict between applicable laws of

the states with a potential interest in the case. If not, there

is no need to perform a choice of law analysis, and the law

common to the jurisdiction should be applied.” Cohen v. Roll-A-

Cover, LLC, 27 A.3d 1, 16 (Conn. 2011) (citation omitted). Here,

there appears to be a conflict between California and

Connecticut law with respect to the unconscionability analysis

of an arbitration agreement. DAI does not argue otherwise.

Accordingly, a choice of law analysis is necessary

notwithstanding whether or not there was a meeting of the minds

with respect to the choice of law provision set forth in the

2012 franchise agreement.9


9Defendants contend that there was no meeting of the minds with
respect to the choice of law and forum selection clause set
forth in the 2012 franchise agreement. See Doc. #17 at 27-29.
The Court need not reach this issue in light of its finding
infra that even in the absence of an effective choice of law
clause, Connecticut law applies to the discussion below.
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    In challenging the 2012 franchise agreement’s choice of law

provision, defendants rely primarily on the Connecticut Supreme

Court case of Elgar v. Elgar, 679 A.2d 937 (Conn. 1996). See

Doc. #17 at 24. In response, DAI does not undertake a choice of

law analysis, instead arguing, inter alia, that “Connecticut law

enforces parties’ contractual choice of law if that choice was

made in good faith.” Doc. #26 at 30 (collecting cases).

    In Elgar, the Connecticut Supreme Court concluded,

    in accordance with §187 of the Restatement, that parties
    to a contract generally are allowed to select the law
    that will govern their contract, unless either: “(a) the
    chosen state has no substantial relationship to the
    parties or the transaction and there is no other
    reasonable basis for the parties' choice, or (b)
    application of the law of the chosen state would be
    contrary to a fundamental policy of a state which has a
    materially greater interest than the chosen state in the
    determination of the particular issue and which, under
    the rule of §188, would be the state of the applicable
    law in the absence of an effective choice of law by the
    parties.”

Elgar, 679 A.2d at 943 (footnote omitted). Defendants focus on

subsection (b) in support of their position that California law




Additionally, to the extent defendants contend that there was no
meeting of the minds with respect to this provision, the Court
rejected a similar, if not identical argument raised by counsel
for defendants in Doctor’s Associates, Inc. v. Pahwa, et. al.,
in connection with a Motion to Dismiss that requested the Court
transfer a Petition to Compel Arbitration to the Northern
District of California. See Pahwa, No. 16CV00446(JCH), slip op.
at 30 (D. Conn. Nov. 3, 2016) (Recommended Ruling re:
Plaintiff’s Petition to Compel Arbitration, Defendants’ Motion
to Dismiss, and Plaintiff’s Motion for Preliminary and/or
Permanent Injunction).
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should apply to the current dispute. For the reasons set forth

below, the Court disagrees.

    Addressing subsection (b), upon which defendants rely, the

Elgar court stated: “[T]he application of the law of the chosen

state must not violate a fundamental policy of the state that

(1) has a greater material interest in the determination of the

issue, and (2) is the state whose law would be applied in the

absence of a choice by the parties.” Elgar, 679 A.2d at 944

(emphasis added). Therefore, the Court “need consider the

relative policy interests only if [California] has a materially

greater interest than [Connecticut] in deciding the validity of

the [arbitration] agreement.” Id.

    Defendants argue that California law would apply in the

absence of a choice of law clause – essentially contending that

California has a materially greater interest than Connecticut in

deciding the validity of the arbitration agreement. See Doc. #17

at 30-31. Specifically, applying the factors of Section 188 of

the Restatement (Second) Conflict of Laws, defendants contend

that California law should apply because: defendants signed the

contract in California; the franchise agreement is one of

adhesion, which was tendered to defendants in California; and

the place and the performance of the franchise agreement was in

California. See id. at 31. Defendants’ argument, however, fails

to consider the interest that Connecticut has in the present

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dispute, which is not the enforceability of the franchise

agreement as a whole, but rather, the enforceability of the

arbitration agreement.

    Defendants erroneously suggest, without evidentiary

support, that the franchise agreement was counter-signed in

Florida. See id. All of the franchise agreements attached to the

Petition to Compel were, however, “signed by authorized agents

in Connecticut.” Doc. #26-1, Piselli Dec. at ¶6. Defendants

further erroneously focus on where the franchise agreement as a

whole was to be performed; the Elgar court actually states that

the “contacts are to be evaluated according to their relative

importance with respect to the particular issue.” Elgar, 679

A.2d at 941 n.8 (quoting Section 188 of the Restatement (Second)

of Conflict of Laws) (emphasis added). Here, the particular

issue under consideration is the enforcement of the arbitration

agreement, and the parties facially agreed that arbitration was

to be held in Bridgeport, Connecticut. See Doc. #1-12 at ¶10b.

Additionally, any legal notice to be given to DAI under the 2012

franchise agreement was to be provided to the Legal Department

in Milford, Connecticut. See Doc. #1-12 at ¶11e. Such provisions

were set forth not only in the 2012 franchise agreement, but in

several prior agreements entered into between DAI and

defendants. See, e.g., Doc. #1-3 at ¶¶10a, 11e; Doc. #1-4 at

¶¶10a, 11e; Doc. #1-5 at ¶¶10a, 11e; Doc. #1-6 at ¶¶10a, 11e.

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Moreover, given that DAI’s headquarters and legal department are

located in Connecticut, see id.; Doc. #26-1, Piselli Dec. at ¶5,

presumably at least some of defendants’ contractual obligations

were directed by DAI’s personnel in Connecticut. Based on the

foregoing, although there are significant contacts with

California, they are not materially greater than the contacts

with Connecticut, especially in light of the particular issue

now under consideration.

     A Connecticut Superior Court addressing this issue recently

came to the same conclusion. There, DAI filed an action to

confirm a favorable arbitration award obtained against the

defendant franchisees. See Doctor’s Assocs., Inc. v. Searl, No.

CV146016689S, 2015 WL 5975855, at *1 (Conn. Super. Ct. Sept. 15,

2015). In opposing the confirmation of the award, the Searl

defendants contended that “they had meritorious defenses to the

plaintiff’s demand for arbitration but they were not given

notice or an opportunity to be heard.” Id. (internal quotation

marks omitted). The Searl defendants further argued that the

Court should apply New York law to the dispute, even though the

contract provided for application of Connecticut law. See id.

     The relevant portion of the franchise agreement in Searl is

nearly identical to the agreement terms at issue here. There,

the franchise agreement contained an arbitration agreement that

provided for all disputes to be resolved by arbitration held in

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Bridgeport, Connecticut. See id. at *4. Similar to the

defendants here, the Searl defendants argued that under Elgar

and the Restatement, New York law applied because New York “had

a materially greater interest than Connecticut in the

determination of the issues in the dispute and ... the

application of Connecticut law would be contrary to the

fundamental policy of New York.” Searl, 2015 WL 5975855, at *5.

In support of this argument,

    the defendants note[d] that the Franchise Agreement
    relates to a New York store; the employees, customers
    and equipment were located in New York; the defendants
    “reviewed and signed all of the operative documents in
    New York”; “the plaintiff’s interaction with the
    defendants was almost entirely through its Development
    Agent ... with offices in New York”; and “the only
    connection to Connecticut is that it is the location of
    the plaintiff’s corporate offices and legal department.”

Id. This, however, was not enough for the Superior Court to find

that New York had a materially greater interest in the dispute

than Connecticut:

    Although there were significant contacts with New York,
    they are not materially greater than the contacts with
    Connecticut. The facts that the Subway store at issue
    and its franchisees are located in New York, as is the
    store’s operations, are not materially greater than the
    facts that Subway’s headquarters are located in
    Connecticut; the defendants were in contact with the
    plaintiff’s legal department in Connecticut concerning
    store operations; any notice under the Franchise
    Agreement were required to be addressed to the
    plaintiff’s legal department in Connecticut; the parties
    agreed that Bridgeport, Connecticut was the site for the
    arbitration hearing; and that the agreement is to be
    “governed by and construed in accordance with the
    substantive laws of the State of Connecticut.”

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Id. at *6. This conclusion further bolsters the Court’s finding

that under the circumstances here, the contacts with California

are not materially greater than the contacts with Connecticut.10

       Based on this finding, “the Court need not consider the

relative policy interests, which would only be necessary had the

court found [California] to have a materially greater interest

in the proceedings than Connecticut.” Id. (citing Elgar, 679

A.2d at 944). Accordingly, the Court will apply Connecticut law

to the present dispute.

     3. Unconscionability

       Defendants, relying primarily on California law, next argue

that the arbitration agreement is both procedurally and

substantively unconscionable. See Doc. #17 at 39-49.11            DAI

responds that unconscionability challenges are for the

arbitrator to determine, where, as here, the parties

incorporated rules empowering an arbitrator to determine the

enforceability of the arbitration agreement specifically. See


10If the Court were tasked at this stage with enforcement of the
franchise agreement as a whole, a different finding might
result. However, that is not the question before the Court.
Instead, the Court here determines only whether or not it should
compel arbitration.
11Defendants do not deny that they entered into the 2012
franchise agreement, which contains the Arbitration Clause at
issue. Indeed, defendants’ “first argument assumes that an
agreement to arbitrate exists, and that it is voidable as
unconscionable.” Pingel v. Gen. Elec. Co., No. 3:14CV00632(CSH),
2014 WL 7334588, at *3 (D. Conn. Dec. 19, 2014).
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Doc. #26 at 24-27. In reply, defendants contend that the Court

should consider the unconscionability challenge because: (1) the

franchise agreement does not clearly and unmistakably delegate

arbitrability to the arbitrator; and (2) the delegation clause,

even if clear and unmistakable, is also unconscionable. See Doc.

#31 at 5-9. Accordingly, before reaching the issue of whether

the arbitration agreement is unconscionable, the Court turns

first to an examination of the delegation clause.

          a. The Language of the Delegation Clause

     Generally, there is a presumption that courts, not

arbitrators, will decide issues of arbitrability.12 See Contec

Corp. v. Remote Solution, Co., Ltd., 398 F.3d 205, 208 (2d Cir.

2005) (citing First Options of Chicago, Inc. v. Kaplan, 514 U.S.

938, 944-45 (1995)). This presumption, however, may be rebutted

with “clear and unmistakable evidence from the arbitration

agreement, as construed by the relevant state law, that the

parties intended that the question of arbitrability shall be

decided by the arbitrator.” Id. (citation and internal quotation



 “‘Questions of arbitrability’ is a term of art covering
12

disputes about [1] whether the parties are bound by a given
arbitration clause as well as disagreements about [2] whether an
arbitration clause in a concededly binding contract applies to a
particular type of controversy.” Gerena v. Neurological Surgery,
P.C., No. 15CV4634(JMA)(GRB), 2016 WL 3647782, at *2 n.1
(E.D.N.Y. June 9, 2016) (citation omitted), report and
recommendation adopted, No. 15CV4634(JMA)(GRB), 2016 WL 3647866
(July 1, 2016).

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marks omitted) (emphasis in original). “The Supreme Court has

indeed recognized that, through a ‘delegation provision,’

‘parties can agree to arbitrate “gateway” questions of

arbitrability,’ including whether the arbitration agreement is

unconscionable. The agreement must, however, demonstrate

‘clearly and unmistakably’ that ‘the parties agreed to arbitrate

arbitrability.’” Crewe v. Rich Dad Educ., LLC, 884 F. Supp. 2d

60, 84 (S.D.N.Y. 2012) (quoting Rent-A-Center, W., 561 U.S. at

68-69); see also Considine, 124 F. Supp. 3d at 89 (“The Supreme

Court has indicated that the question of who — the arbitrator or

the Court — has the power to decide the threshold issue of

arbitrability depends on what the parties have agreed about that

particular matter. Issues of arbitrability include gateway

questions, such as whether the parties have agreed to arbitrate

or whether their agreement covers a particular controversy.”

(citations and internal quotation marks omitted)).

    Although this claim was not raised in their initial

opposition to the Petition to Compel Arbitration, defendants in

reply contend that “the franchise agreement does not clearly and

unmistakably delegate the arbitrability issue to the

arbitrator.” Doc. #31 at 6. Defendants specifically argue that

other provisions of the franchise agreement are inconsistent

with a clear and unmistakable delegation of gateway issues to

the arbitrator. See id. (citing paragraphs 11c and 18 of 2012

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franchise agreement). Defendants’ arguments, which primarily

rely on California law, are unpersuasive in light of the

precedent in this Circuit and the state of Connecticut.

    “Clear and unmistakable evidence exists when an arbitration

clause explicitly delegates arbitrability determinations to the

arbitrator, or when it incorporates by reference arbitration

rules that do so.” Arshad v. Transp. Sys., Inc., No.

15CV2138(NRB), 2016 WL 1651845, at *3 (S.D.N.Y. Apr. 25, 2016)

(citing Contec, 398 F.3d at 208). The Second Circuit has

specifically held that “when ... parties explicitly incorporate

rules that empower an arbitrator to decide issues of

arbitrability, the incorporation serves as clear and

unmistakable evidence of the parties’ intent to delegate such

issues to an arbitrator.” Contec, 398 F.3d at 208; see also Shaw

Grp. Inc. v. Triplefine Int’l Corp., 322 F.3d 115, 124–25 (2d

Cir. 2003) (“In sum, because the parties’ arbitration agreement

is broadly worded to require the submission of ‘all disputes’

concerning the Representation Agreement to arbitration, and

because it provides for arbitration to be conducted under the

rules of the ICC, which assign the arbitrator initial

responsibility to determine issues of arbitrability, we conclude

that the agreement clearly and unmistakably evidences the




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parties’ intent to arbitrate questions of arbitrability.”).13

District Courts within this Circuit have routinely applied

Contec’s holding to find the delegation of arbitrability clear

and unmistakable where the AAA rules are incorporated by

reference into the arbitration clause. See, e.g., Considine, 124

F. Supp. 3d at 90-91; Arshad, 2016 WL 1651845, at *4; Cong.

Const. Co. v. Geer Woods, Inc., No. 3:05CV1665(MRK), 2005 WL

3657933, at *2-3 (D. Conn. Dec. 29, 2005); Discover Prop. & Cas.

Ins. Co. v. Tetco, Inc., No. 3:12CV473(JBA), 2014 WL 685367, at

*8 (D. Conn. Feb. 19, 2014).

     The applicable language of the arbitration clause at issue

here provides:

     Any dispute, controversy or claim arising out of or
     relating to this Agreement or the breach thereof shall
     be settled by arbitration. The arbitration shall be
     administered by the American Arbitration Association or
     its   successor   (“AAA”)  in   accordance   with   its
     administrative rules including, as applicable, the
     Commercial Rules of the AAA and under the Expedited
     Procedures of such rules or under the Optional Rules of
     Emergency Measures of Protection of the AAA.


13Defendants argue that Contec’s holding has been limited by
other courts around the country to arbitration agreements
between sophisticated commercial parties. See Doc. #31 at 7.
However, defendants fail to cite to any cases within this
Circuit to support that contention. Additionally, to the extent
that defendants contend that they are not sophisticated
commercial parties, the Court disagrees. Defendants are not
unsophisticated consumers, but rather seasoned business people
who have run more than 30 Subway franchises over the past
fifteen years. See Doc. #17-1, Tripathi Dec. at ¶2. At the time
Mr. Tripathi filed his declaration, these franchises “employ[ed]
some 80 people.” Id.
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    Any disputes concerning the enforceability or scope of
    the arbitration clause shall be resolved pursuant to the
    [FAA] and the parties agree that the FAA preempts any
    state law restrictions (including the site of the
    arbitration) on the enforcement of the arbitration
    clause in this Agreement.

Doc. #1-12 at ¶¶10a, 10f. Rule 7 of the AAA Commercial Rules

provides that “[t]he arbitrator shall have the power to rule on

his or her own jurisdiction, including any objections with

respect to the existence, scope, or validity of the arbitration

agreement or to the arbitrability of any claim or counterclaim.”

AAA Rule R-7(a). In light of this language, and the applicable

Second Circuit precedent, the Court finds clear and unmistakable

evidence that the 2012 franchise agreement’s Arbitration Clause

delegates the question of arbitrability to the arbitrator. See

Contec, 398 F.3d at 208; Considine, 124 F. Supp. 3d at 90-91

(“[E]ven if the plain language of the contract were not

dispositive on this point, the parties also incorporate a set of

rules into their agreement, which delegate the authority to

decide arbitrability to the arbitrator. ... The incorporated

rules provide that ‘[t]he arbitrator shall have the power to

rule on his or her own jurisdiction, including any objections

with respect to the existence, scope or validity of the

arbitration agreement.’ Ex. B, AAA Employment Arbitration Rules

& Mediation Procedures at 17. The Second Circuit has found that

incorporation into an arbitration agreement of procedural rules


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that use this same language was sufficiently ‘unmistakable and

clear’ evidence of an intent to arbitrate arbitrability.”

(citation omitted)); Arshad, 2016 WL 1651845, at *4 (“We find

clear and unmistakable evidence that the Subscription

Agreement’s arbitration provision delegates the question of

arbitrability to the arbitrator. Specifically, it requires the

arbitration to be ‘administered by the American Arbitration

Association under its Commercial Arbitration Rules.’”); Cong.

Const. Co., 2005 WL 3657933, at *2 (“The Second Circuit has

repeatedly held that when, as here, parties incorporate by

reference arbitral rules that ... permit the arbitrator to rule

on its own jurisdiction, the arbitrator must decide issues of

arbitrability.”); Discover Prop., 2014 WL 685367, at *8 (“[T]he

Court concludes in the context of this commercial arbitration

agreement between sophisticated parties that the incorporation

by reference of the AAA rules evinces a clear and unmistakable

intent to reserve challenges to the validity of the arbitration

agreement to the arbitrator in the first instance, and the Court

will not address the merits of Discover’s argument that the

arbitration clause is invalid for lack of consideration.”).

    Lending further support to this finding is the broad scope

of the arbitration clause, which provides for arbitration of

“[a]ny dispute, controversy or claim arising out of or relating

to this Agreement or the breach thereof[.]” Doc. #1-12 at ¶10a.

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The Second Circuit has found that a similar clause “is the

paradigm of a broad clause[,]” which supports a “presumption

that the claims are arbitrable.” Collins & Aikman Prod. Co. v.

Bldg. Sys., Inc., 58 F.3d 16, 20 (2d Cir. 1995) (citations

omitted); Mehler v. Terminix Int’l Co. L.P., 205 F.3d 44, 49 (2d

Cir. 2000) (“There is no dispute that the arbitration clause at

issue is a classically broad one. The clause provides for

arbitration of ‘any controversy or claim between the parties

arising out of or relating to’ the Agreement. We have previously

decided that this is ‘precisely the kind of broad arbitration

clause that justifies a presumption of arbitrability.’”

(internal citation omitted)). Courts within this Circuit have

further found that such broad language clearly evidences the

parties’ intent to arbitrate issues of arbitrability. See, e.g.,

Arshad, 2016 WL 1651845, at *4; PRL USA Holdings, Inc. v. United

States Polo Ass'n, Inc., No. 14CV764(RJS), 2015 WL 1442487, at

*4 (S.D.N.Y. Mar. 27, 2015) (Arbitration clause’s “broad

language” and incorporation by reference of the AAA’s Commercial

Arbitration rules made it “both clear and unmistakable that the

parties intended to arbitrate the question of arbitrability.”);

Bell v. Cendant Corp., 293 F.3d 563, 568 (2d Cir. 2002) (“Under

Connecticut law, an intent to refer the matter to the arbitrator

may be indicated ‘by an express provision or through the use of

broad terms to describe the scope of arbitration, such as “all

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questions in dispute and all claims arising out of” the contract

or “any dispute that cannot be adjudicated.”’” (quoting City of

Bridgeport v. Bridgeport Police Local 1159, AFSCME, Council 15,

438 A.2d 1171, 1173 (Conn. 1981))); see also Distajo, 66 F.3d at

453 (noting “Connecticut’s strong policies favoring arbitration”

(collecting cases)).

    Defendants further contend that the delegation clause

conflicts with other sections of the 2012 franchise agreement,

and, therefore, the agreement does not clearly and unmistakably

delegate arbitrability to the arbitrator. See Doc. #31 at 6-7

(relying on paragraphs 11c (severability clause) and 18 (waiver

of jury) of 2012 franchise agreement). Defendants’ arguments are

not compelling. Defendants fail to cite to any binding case law

in support of their arguments. The Court’s research has further

failed to reveal any case law within this Circuit that would

support defendants’ arguments. Additionally, such conflict is

artificial, where it is plausible that situations could arise in

which a Court could review the arbitral panel’s determination on

enforceability when, for example, deciding a post-award motion

to vacate. See Mohamed v. Uber Techs., Inc., No. 15-16178, --

F.3d --, 2016 WL 4651409 (9th Cir. Sept. 7, 2016). Accordingly,

and in light of the Second Circuit precedent cited above, the

Court finds that the 2012 franchise agreement’s Arbitration



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Clause clearly and unmistakably delegates issues of

arbitrability to the arbitrator.

          b. Unconscionability of the Delegation Clause

     Defendants alternatively argue that the delegation clause

itself is unconscionable. See Doc. #31 at 8-9. Because this

argument was first raised in a sur-reply, DAI has not been

afforded an opportunity to respond to this specific contention.14

     The question of unconscionability is governed by state law.

See Cap Gemini, 346 F.3d at 365 (collecting cases). Although

defendants challenged the conscionability of the arbitration

clause generally in their opposition to the Petition to Compel

Arbitration, for the first time in reply, defendants challenge

the conscionability of the delegation provision specifically.

See Doc. #31 at 8-9. Defendants make a single unconscionability

argument directed to the delegation clause, namely, that in


14On November 2, 2016, defendants filed a Motion for Judicial
Notice and to Establish Evidentiary Admission of Procedural
Unconscionability. [Doc. #44]. DAI has filed a response in
opposition. [Doc. #45]. Without deciding the merits of the
motion, this filing does not change the Court’s analysis as the
“minimal procedural unconscionabililty” alleged goes to the
arbitration agreement as a whole, and not the delegation
provision specifically. See Pingel, 2014 WL 7334588, at *6.
Additionally, the document upon which defendants rely was filed
on October 21, 2016, approximately ten days before defendants
raised this issue with this Court, even though counsel were
aware that the Court intended to rule on these motions on an
expedited basis. See Doc. #44-1 at 43. Further, defendants could
have noted this in their opposition to the motion for injunction
filed on October 24, 2016, [Doc. #40], but notably, failed to do
so.
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light of the Connecticut choice of law provision, which “would

restrict the [defendants] from using California

unconscionability arguments[,]” the choice of law clause fails,

and with it, the delegation clause. Doc. #31 at 8-9. In support

of this argument, defendants rely on a single California Court

of Appeals case. See id. The Court finds this argument

unpersuasive. “Under Connecticut law, the party that raises

unconscionability as a defense to the enforcement of any

contract typically has the burden of showing that the contract

is both procedurally and substantively unconscionable.”

D’Antuono, 789 F. Supp. 2d at 327 (citation omitted) (emphasis

added). “Substantive unconscionability focuses on the ‘content

of the contract,’ as distinguished from procedural

unconscionability, which focuses on the ‘process by which the

allegedly offensive terms found their way into the agreement.’”

Id. (citation omitted).

    Defendants’ argument focuses on the substance of the

delegation clause and not the process by which that specific

term found its way into the contract. “To make out a claim that

the delegation provision is procedurally unconscionable,

[defendants] must direct [their] procedural unconscionability

argument at the delegation provision specifically.” Pingel, 2014

WL 7334588, at *6. Defendants have not raised such an argument,

instead arguing that the arbitration agreement as a whole is

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procedurally unconscionable.15 See Doc. #17 at 39-40. “Under

Rent–A–Center, [defendants are] required to direct [their]

challenge specifically at the delegation provision even where,

as here, a specific challenge to the delegation provision is

implicit in [their] claim that the entire agreement to arbitrate

is procedurally unconscionable.” Pingel, 2014 WL 7334588, at *6

(citing Rent-A-Center, 561 U.S. at 72). Here, defendants make no

such specific challenge that the delegation clause is

procedurally unconscionable.16

      “In some rare cases, a contractual provision may be so

outrageous as to warrant a court’s refusal to enforce it based


15Although defendants make a half-hearted attempt to argue that
the arbitration agreement is procedurally unconscionable, the
substance of their argument is directed to the franchise
agreement as a whole, and not specifically to the arbitration
agreement. See Doc. #17 at 39-40. It is well established that
under the FAA a challenge to the making of a contract generally,
versus to the making the arbitration agreement specifically,
must be decided by the arbitrator. See Prima Paint Corp. v.
Floor & Conklin Mfg. Co., 388 U.S. 395, 402-04 (1967).

16In arguing that the arbitration clause is procedurally
unconscionable, defendants submit that they were not provided
with a copy of the AAA rules. See Doc. #17 at 30. To the extent
this argument can be read as directed towards the delegation
clause specifically, the Court finds it unpersuasive. The rules
to which the Arbitration Clause refer are readily available on
the internet and are rules of uniform application. Additionally,
defendants are not unsophisticated business people, but rather,
have overseen 30 Subway franchises which at some point employed
at least 80 people. See generally Doc. #17-1, Tripathi Dec.
Defendants present no argument as to how, if at all, they were
disadvantaged by not receiving a copy of these Rules.
Accordingly, the Court declines to find the delegation clause
procedurally unconscionable on this ground.
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on substantive unconscionability alone.” D’Antuono, 789 F. Supp.

2d at 327 (citation omitted). However, the provisions of the

franchise agreement upon which defendants rely in making their

argument are not so outrageous as to support a finding that the

delegation clause is unconscionable. Indeed, defendants are free

to raise the choice of law and California policy arguments with

the arbitrator at arbitration. Accordingly, the Court finds that

defendants have failed to meet their burden of establishing that

the delegation provision is unconscionable under Connecticut

law.

       Having found that issues of arbitrability have been clearly

and unmistakably delegated to the arbitrator, the Court does not

reach the merits of defendants’ remaining arguments, including

whether the arbitration agreement is unconscionable and whether

DAI’s arbitration scheme is void as against public policy. These

issues are for the arbitrator to resolve. Therefore, and where

defendants do not dispute that they entered into the 2012

franchise agreement, the Court recommends that the Petition to

Compel Arbitration [Doc. #1] be GRANTED.17


17Defendants also summarily argue that DAI’s Petition to Compel
Arbitration should be denied because DAI has unclean hands. See
Doc. #17 at 48. Defendants’ argument primarily relies on non-
binding case law from California and is essentially an attempt
to reargue whether the arbitration clause is unconscionable. The
Court declines to undertake such an analysis in light of its
finding that unconscionability of the arbitration agreement is
for the arbitrator’s determination. To the extent defendants
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C. Motion for Preliminary Injunction and/or Permanent Injunction
   and, if Necessary, an Emergency Expedited Decision on the
   Petition to Compel [Doc. #33]

     DAI also moves the Court for a preliminary and/or permanent

injunction, and an emergency expedited decision on the Petition.

[Doc. #33]. DAI makes this motion because defendants filed a

motion in the California action seeking an “order that ... DAI

will never be entitled to a stay of this matter under the

California Arbitration Act or the Federal Arbitration Act and

that DAI’s arbitration clause with the Tripathis is

unconscionable and unenforceable.” Doc. #33-2 at 1-2. The

California Court has scheduled argument on this motion on

November 9, 2016. See id. at 2. Defendants have filed a

memorandum in opposition to plaintiff’s motion arguing: (1) the

Anti-Injunction Act does not permit the requested injunction;

and (2) the injunction sought by DAI is overbroad. [Doc. #40].

     “Ordinarily, a party seeking a preliminary injunction must

show: (1) a likelihood of irreparable harm in the absence of the

injunction; and (2) either a likelihood of success on the merits

or sufficiently serious questions going to the merits to make

them a fair ground for litigation, with a balance of hardships

tipping decidedly in the movant’s favor.” Anderson v. Cameron,




argue that arbitration should be ordered in California, see id.
at 48, the Court has rejected this argument, supra.
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568 F. App’x 67, 67-68 (2d Cir. 2014) (citing Doninger v.

Niehoff, 527 F.3d 41, 47 (2d Cir. 2008)).

    Defendants’ California complaint asks the court there to

determine what the Court here has already decided – namely,

whether defendants are compelled to arbitrate their claims in

Connecticut pursuant to the arbitration provision set forth in

the 2012 franchise agreement. See Doc. #17-2 at 16-17 (count for

declaratory relief seeking, inter alia, a declaration “that the

arbitration clause is unconscionable under California law and

therefore unenforceable, [and] that California law applies to

such unconscionability determination”). Defendants admit as much

in their briefing, asserting that because “the two actions ask

the respective courts to decide the enforceability of DAI’s

arbitration scheme, both courts would be considering the same

issues and could possibly come to conflicting decisions.” Doc.

#17 at 25. Therefore, “[c]ontinued litigation of these issues in

parallel state proceedings will undermine, if not moot, this

Court’s ruling.” Hollingsworth, 949 F. Supp. at 86 (citing

Doctor’s Assocs., Inc. v. Distajo, 870 F. Supp. 34, 36 (D. Conn.

1994), aff’d in part, rev’d in part, 66 F.3d 438 (2d Cir.

1995)). Accordingly, the issuance of an injunction against the

California state court proceedings would be necessary to protect

this Court’s order and jurisdiction. See, e.g., Emilio v. Sprint

Spectrum, L.P., 315 F. App’x 322, 325 (2d Cir. 2009) (“Because

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the district court was issuing an order compelling arbitration

and Sprint was seeking a motion in state court to enjoin Emilio

to dismiss his arbitration claims, the district court correctly

concluded that an injunction was necessary in order to protect

its order.”); see also Doctor’s Assocs., Inc. v. Agrawal, No.

3:05CV250(PCD), 2006 WL 1028908, at *6 (D. Conn. Apr. 13, 2006);

Doctor’s Assocs., Inc. v. Quinn, 42 F. Supp. 2d 184, 188 (D.

Conn.), aff’d, 205 F.3d 1322 (2d Cir. 1999).

    Defendants argue, however, that the Anti-Injunction Act

does not permit the requested injunction, contending that this

Court cannot enjoin defendants “from proceeding with the

California Action pending a decision on the Petition to Compel

Arbitration.” Doc. #40 at 2-4. Although defendants cite a string

of cases holding that no injunction was permissible under the

Anti-Injunction Act, see Doc. #40 at 3, these cases are

inapposite. Here, the Court does not intend to recommend that

the District Court issue an injunction pending the decision on

the Petition. Rather, and by stark contrast, the Court has made

a recommended decision on the Petition, and based on that

decision, finds that the issuance of an injunction is necessary

to protect this Court’s orders and aid in the exercise of its

jurisdiction. Indeed, defendants’ string cite includes Emilio,

315 F. App’x 322, which rejected a similar Anti-Injunction Act

argument and held that “the district court correctly concluded

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that an injunction was necessary in order to protect its

order[]” compelling arbitration. Emilio, 315 F. App’x at 325.

Accordingly, on the record before the Court, defendants’ Anti-

Injunction Act argument is misplaced.

    Defendants next argue that the requested injunction is

overly broad. See Doc. #40 at 4-12. Defendants first contend

that DAI does not have standing to seek an injunction on behalf

of Patel and Letap. See id. at 4-5. In making this argument,

defendants cite only to general standing principles and do not

discuss the nuances of this matter, or the Arbitration Clause at

issue. Defendants further ignore Rule 65, which specifically

contemplates that an injunction “order binds only the following

who receive actual notice of it by personal service or

otherwise: (A) the parties; (B) the parties’ ... agents ...; and

(C) other persons who are in active concern or participation

with any described in Rule 65(d)(2)(A) or (B).” Fed. R. Civ. P.

65(d)(2)(A)-(C). Because Patel and Letap are admittedly agents

of DAI, an intended beneficiary of the Arbitration Clause, see

Doc. #1-12 at ¶10d, it follows that DAI has standing to seek an

order enjoining improperly brought litigation against those

agents. See Ecopetrol S.A. v. Offshore Expl. & Prod. LLC, 172 F.

Supp. 3d 691 (S.D.N.Y. 2016) (“A permanent injunction, through

the automatic operation of Rule 65(d)(2), may bind a non-party

who is in active concert or participation with the parties.”

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(collecting cases)). Accordingly, the Court rejects defendants’

standing argument.18

     Defendants next attempt to re-argue that Patel and Letap

are indispensable parties because DAI seeks an injunction that

affects their interests. See Doc. #40 at 5. In that same vein,

defendants again request that the Court “look through” the

pleadings for purposes of ascertaining diversity jurisdiction.

See id. at 6. The Court will not consider these arguments here

as they go to the merits of the Motion to Dismiss, which the

Court has already addressed.

     Defendants also argue that Patel and Letap should not “be

exculpated from alleged intentional torts and statutory

violations and this Court may not utilize, and should not even

consider utilizing, its injunctive power to accomplish that

result.” Doc. #40 at 6. This argument, however, goes to the

merits of the Petition to Compel Arbitration, which the court

has now granted. In that regard, the Court is not preventing


18As previously noted, the defendants facially agreed to
arbitrate any claims arising under the FAA against DAI alone and
pursuant to that agreement may not name DAI’s agents as parties
to any proceeding, including the litigation in California. See
Doc. #1-12 at ¶10d. Arbitrability has been delegated to the
arbitrator, and therefore, what claims may be arbitrated against
whom, or whether the arbitration clause is enforceable, are
determinations for the arbitrator’s consideration in the first
instance. This Court makes no finding as to whether the claims
asserted against Patel and Letap arbitrable. Rather, the Court
finds that any arguments on this point must be presented first
to the arbitrator.
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defendants from asserting their claims against Patel and Letap.

Indeed, because arbitrability has been delegated to the

arbitrator, the issue of whether the claims against Patel and

Letap fall within the scope of the Arbitration Clause is for the

arbitrator’s determination and there is nothing stopping

defendants from presenting such arguments in that forum.

Accordingly, the Court finds this argument unpersuasive.

    Defendants contend that this Court should not interfere

with the California Court’s proceedings scheduled for November 9

because Patel and Letap are not parties to the present action

and have waived their right to demand arbitration. See Doc. #40

at 8-10. This argument, however, goes to the merits of the

Petition and Motion to Dismiss, which have now been fully

briefed and decided. Although defendants are free to raise this

argument with the arbitrator, the Court declines to consider

such arguments here.

    Last, defendants argue that the Court cannot enjoin the

California court from litigating claims involving defendants’

challenges to the Connecticut judgment. See Doc. #40 at 10-12.

This is correct, and DAI does not seek to enjoin the

domestication proceeding in Contra Costa County, California. The

proposed injunction order explicitly refers to the litigation

pending in Marin County, California. See Doc. #33-1 To the

extent that defendants’ Marin County complaint also seeks to

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“avoid California recognition of the judgment and to vacate it”

those arguments may be made in the domestication proceedings.

Alternatively, because arbitrability has been delegated to the

arbitrator, defendants may present those arguments to the

arbitrator.

    Therefore, the Court recommends that the District Court

GRANT DAI’s Motion for Preliminary and/or Permanent Injunction

[Doc. #33], and enter an injunction in the form of that attached

to DAI’s Motion. See Doc. #33-1.

                           IV.   Conclusion

    Thus, for the reasons stated above, the Court recommends

that the defendants’ Motion to Dismiss [Doc. #16] be DENIED,

DAI’s Petition to Compel Arbitration [Doc. #1] be GRANTED, and

that DAI’s Motion for Injunction [Doc. #33] be GRANTED

    This is a Recommended Ruling. See Fed. R. Civ. P. 72(b)(1).

Any objections to this recommended ruling must be filed with the

Clerk of the Court within fourteen (14) days of being served

with order. See Fed. R. Civ. P. 72(b)(2). Failure to object

within fourteen days may preclude appellate review. See 28

U.S.C.   §636(b)(1); Fed. R. Civ. P. 72(b); and D. Conn. L. Civ.

R. 72.2; Small v. Secretary of H.H.S., 892 F.2d 15 (2d Cir.




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1989) (per curiam); F.D.I.C. v. Hillcrest Assoc., 66 F.3d 566,

569 (2d Cir. 1995).19

     SO ORDERED at New Haven, Connecticut, this 3rd day of

November, 2016.

                                      /s/       ___________
                                 HON. SARAH A. L. MERRIAM
                                 UNITED STATES MAGISTRATE JUDGE




19Although this is a Recommended Ruling, United States District
Judge Janet C. Hall is familiar with the parties’ arguments and
intends to review this ruling immediately and to promptly rule
on any objection(s) thereto.
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